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                                        DEBRA P.
 VICTORIA PETERSON,                               HACKE rT
                                         u.s. DISTRICT             cuf
                                        KIDDLE (..:'10 irr COURT
    Plaintiff,                                            1::T 1- :_.;



 -VS-                                                CASE NO.: &                   aoLt-3tax)
 CREDIT ACCEPTANCE
 CORPORATION.

     Defendant.



                      COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, Victoria Peterson, (hereinafter "Plaintiff') by and through the

undersigned counsel, and sues Defendant, Credit Acceptance Corporation (hereinafter

"Defendanr), and in support thereof respectfully alleges violations of the Telephone Consumer

Protection Act, 47 U.S.C. § 227 et seq. ("TCPA"). Plaintiff further alleges that Defendant

committed an invasion of privacy as recognized by Alabama jurisprudence.

                                       INTRODUCTION

        1.       The TCPA was enacted to prevent companies like from invading American

 citizen's privacy and to prevent abusive "robo-calls."

        2.       "The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740(2012).

        3.       "Senator Hollings, the TCPA's sponsor, described these calls as 'the *1256

scourge of modern civilization, they wake us up in the morning; they intemipt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone
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out of the wall." 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling." Osorio v.

State Farm Bank, F.S.B., 746 F. 3d 1242(11th Cir. 2014).

        4.      According to the Federal Communications Commission (FCC),"Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                 JURISDICTION AND VENUE

        5.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

        6.     Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249(11 Cir. 2014).

       7.      The alleged violations described herein occurred in Barbour County, Alabama.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.




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                                      FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Alabama, residing in

Barbour County.

       9.      Plaintiff is a "consumer."

        10.    Plaintiff is an "alleged debtor."

        11.    Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014)and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242(11th Cir. 2014).

       12.     Defendant is a corporation with its principal place of business located at 25505

West Twelve Mile Road, Southfield, Michigan 48034-8339, and which conducts business in the

State of Alabama through its registered agent, Corporation Service Company, Inc. located at 641

South Lawrence Street, Montgomery, Alabama 36104.

       13.     The debt that is the subject matter of this Complaint is a "consumer debt."

       14.     Defendant attempted to collect an alleged debt from Plaintiff by this campaign of

telephone calls.

       15.     Upon receipt of the calls from Defendant, Plaintiffs caller ID identified the calls

were being initiated from, but not limited to, the following phone numbers: (586) 461-4321,

(313) 263-1173,(313) 263-1170, and (810) 272-5122, and when those numbers are called, a pre-

recorded voice or agent answers and identifies the number as belonging to Credit Acceptance

Corporation.

       16.     Upon information and belief, some or all of the calls the Defendant made to

Plaintiffs cellular telephone number were made using an "automatic telephone dialing system"

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or
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prerecorded voice; and to dial such numbers as specified by 47 U.S.0 § 227(a)(1) (hereinafter

"autodialer calls"). Plaintiff will testify that she knew it was an autodialer because of the vast

number of calls she received and because she heard a pause when she answered her phone before

a voice carne on the line and/or she received prerecorded messages from Defendant.

        17.    Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number(334)*** - 8539 and was the called party and recipient of Defendant's calls.

        18.     Defendant placed an exorbitant number of calls to Plaintiffs cellular telephone

number(334)*** - 8539 in an attempt to collect on a motor vehicle loan.

        19.    On several occasions over the last four (4) years Plaintiff instructed Defendant's

agent(s) to stop calling her cellular telephone.

       20.     In or about January of 2017, Plaintiff answered a call from Defendant to her

aforementioned cellular telephone number, met with an automated message, held the line and

was eventually connected to a live representative, and informed an agent/representative of

Defendant that the calls to her cellular phone were harassing, and demanded that they cease

calling her aforementioned cellular telephone number.

       21.     During the aforementioned phone call with Defendant in or about January of

2017, Plaintiff unequivocally revoked any express consent Defendant had for placement of

telephone calls to Plaintiffs aforementioned cellular telephone number by the use of an

automatic telephone dialing system or a pre-recorded or artificial voice.

       22.     Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was done so without the "express consenr of the Plaintiff.

       23.     Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was knowing and willful.


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        24.     Additionally, on or about July 3, 2018, due to continued automated calls to her

aforementioned cellular telephone number from the Defendant, Plaintiff again answered a call

from Defendant, met with an extended pause, held the line and was eventually connected to a

live representative, and informed the agent/representative of Defendant that she had previously

informed them not to call her cellular telephone number, and again demanded that Defendant

cease placing calls to her aforementioned cellular telephone number.

        25.     Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express consent the

Defendant may have had to call her aforementioned cellular telephone number.

        26.     Defendant has placed approximately one hundred (100) calls to Plaintiffs

aforementioned cellular telephone number. Due to the volume and time period over which she

received automated calls, Plaintiff was not able to properly catalogue each and every call

received from Defendant; thus, the exact number of calls will be established after a thorough

review of Defendant's records.

        27.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as it did to Plaintiffs cellular telephone in

this case.

        28.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice just as it did to Plaintiffs cellular telephone in this case, with no

way for the consumer, Plaintiff, or ,to remove the number.

       29.      Defendant's corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to they wish for the calls to stop.




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        30.    Defendant has numerous other federal lawsuits pending against it alleging similar

violations as stated in this Complaint.

        31.    Numerous complaints across the country have been filed against Defendant

asserting that its automatic telephone dialing system continues to call despite requested to stop.

        32.    Defendant has had numerous complaints from consumers across the country

against it asking to not be called; however, Defendant continues to call the consumers.

        33.    Defendant's corporate policy provided no means for Plaintiff to have her number

removed from Defendant's call list.

        34.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

        35.    Not a single call placed by Defendant to Plaintiff were placed for "emergency

purposes" as specified in 47 U.S.C. § 227(b)(1)(A).

        36.     Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        37.    From each and every call placed without consent by Defendant to Plaintiffs cell

phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her right of

seclusion.

        38.    From each and every call without express consent placed by Defendant                to

Plaintiffs cell phone, Plaintiff suffered the injury of occupation of her cellular telephone line and

cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant's calls.

        39.    From each and every call placed without express consent by Defendant to

Plaintiffs cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time. For


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calls she answered, the time she spent on the call was unnecessary as she repeatedly asked for the

calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

with missed call notifications and call logs that reflected the unwanted calls. This also impaired

the usefulness of these features of Plaintiffs cellular phone, which are designed to inform the

user of important missed communications.

         40.   Each and every call placed without express consent by Defendant to Plaintiffs

cell phone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that were

answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for unanswered

calls, Plaintiff had to waste time to unlock the phone and deal with missed call notifications and

call logs that reflected the unwanted calls. This also impaired the usefulness of these features of

Plaintiff s cellular phone, which are designed to inform the user of important missed

communications.

         41.   Each and every call placed without express consent by Defendant to Plaintiffs

cell phone resulted in the injury of unnecessary expenditure of Plaintiff s cell phone's battery

power.

         42.   Each and every call placed without express consent by Defendant to Plaintiffs

cell phone where a voice message was left which occupied space in Plaintiffs phone or network.

         43.   Each and every call placed without express consent by Defendant to Plaintiffs

cell phone resulted in the injury of a trespass to Plaintiff s chattel, namely her cellular phone and

her cellular phone services.

         44.   As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety, nervousness,

embarrassment, and aggravation.


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                                            COUNT I
                                     (Violation of the TCPA)

        45.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-four

(44) as if fully set forth herein.

        46.     Defendant willfully violated the TCPA with respect to Plaintiff, especially for

each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff notified

Defendant that she wished for the calls to stop.

        47.     Defendant repeatedly placed non-emergency telephone calls to Plaintiffs cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiffs prior express consent in violation of federal law, including 47 U.S.0 §

227(b)(1)(A)(iii).

        WHEREFORE,Plaintiff, VICTORIA PETERSON, respectfully demands a trial by jury

on all issues so triable and judgment against Defendant CREDIT ACCEPTANCE

CORPORATION for statutory damages, punitive damages, actual damages, treble damages,

enjoinder from further violations of these parts and any other such relief the court may deem just

and proper.




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                                           COUNT II
                                      (Invasion of Privacy)

        48.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-four

(44) as if fully set forth herein.

        49.     At all times relevant to this action Defendant is subject to and must abide by the

laws of the State of Alabama, including Alabama common law.

        50.     Alabama recognizes the tort "invasion of the right to privacy" since 1948. Phillips

v. Smalley, 435 So.2d 705, 708(Ala. 1983); affirmed 71,1 F.2d 1524(1 1 th Cir. 1983).

        51.     Invasion of privacy, intrusion upon seclusion, and wrongful intrusion are all

actionable under the Restatement(Second) of Torts § 652B. Phillips v. Smalley, 435 So.2d 705,

709(Ala. 1983).

        52.     Defendant has violated Plaintiff s right of privacy and intruded upon her right to

seclusion by willfully communicating with the debtor or any member of his or her family with

such frequency as can reasonably be expected to harass the debtor or his or her family.

        53.     Defendant's tortious conduct has directly and proximately resulted in Plaintiffs

prior and continuous sustaining of damages, which is a recognized cause of action pursuant to

Alabama jurisprudence.




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       WHEREFORE,Plaintiff VICTORIA PETERSON respectfully demands a trial by jury

on all issues so triable and judgment against Defendant CREDIT ACCEPTANCE

CORPORATION for statutory damages, punitive damages, actual damages, costs, interest,

attorney fees, enjoinder from further violations of these parts and any other such relief the court

may deem just and proper.

                                             Respectfully submitted,




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